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 1                                                                          District Judge John C. Coughenour

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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9
     STATE OF WASHINGTON, et al.,                             CASE NO. C25-0127-JCC
10
                             Plaintiffs,
11                                                            DEFENDANTS’ REPLY IN
                             v.                               SUPPORT OF MOTION TO STAY
12                                                            PRELIMINARY INJUNCTION
   DONALD J. TRUMP, in his official
                                                              PENDING APPEAL
   capacity as President of the United States, et
13
   al.,
                                                              NOTE ON MOTION CALENDAR:
14
                             Defendants.                      FEBRUARY 28, 2025
15

16          On February 7, 2025, Defendants filed a motion requesting that this Court stay its

17 preliminary injunction in its overbroad applications (i.e., as it applies beyond the individual

18 named plaintiffs in this action). See Defs.’ Mot. to Stay Prelim. Inj. Pending Appeal, ECF No.

19 122. For the reasons explained in that motion, Defendants believe a stay is warranted, but

20 respect and acknowledge that, in granting its nationwide injunction, the Court has already

21   Reply in Support of Motion to Stay Preliminary Injunction Pending Appeal                   U.S. DEPARTMENT OF JUSTICE
                                                                                       CIVIL DIVISION, FEDERAL PROGRAMS BRANCH
     C25-0127-JCC-1
                                                                                                     1100 L STREET, NW
22                                                                                                 WASHINGTON, DC 20005
                                                                                                        202-616-8098
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 1 rejected Defendants’ arguments. Rather than belabor those arguments here, Defendants rest

 2 on their motion and respectfully reiterate their request for a ruling from this Court by the close

 3 of business tomorrow, February 12, 2025, so that after that time they may seek appropriate

 4 relief from the U.S. Court of Appeals for the Ninth Circuit if this Court denies or does not rule

 5 on Defendants’ motion. See Fed. R. App. P. 8(a)(1) (“A party must ordinarily move first in

 6 the district court for . . . a stay of the . . . order of a district court pending appeal . . . .”).

 7           Defendants file this brief only to respond to the state plaintiffs’ contention that

 8 Defendants’ case for a stay is undermined by the fact that they “have neither appealed nor

 9 sought to stay a separate nationwide injunction” against Executive Order No. 14160 issued by

10 a district court in the District of Maryland. Pl. States’ Resp. to Defs.’ Mot. to Stay Inj. Pending

11 Appeal at 4, ECF No. 124 (citing CASA, Inc. v. Trump, No. 8:25-cv-201-DLB, 2025 WL

12 408636 (D. Md. Feb. 5, 2025)). But that case features individuals and organizations as

13 plaintiffs and therefore does not involve the central defect of this litigation (and a central

14 argument in Defendants’ stay motion): an improper attempt by states to litigate claims they

15 lack standing to bring. More importantly, the states’ argument is premature because the CASA

16 injunction was issued just six days ago and Defendants have 60 days to appeal it (and longer

17 than that to seek an appropriate stay of the order). See Fed. R. App. P. 4(a)(1)(B).

18           In any event, the state plaintiffs’ premise is now incorrect. Defendants have appealed

19 the CASA preliminary injunction to the Fourth Circuit, see ECF No. 69, CASA, Inc. v. Trump,

20 No 8:25-cv-201 (D. Md. Feb. 11, 2025), and the Acting Solicitor General of the United States

21    Reply in Support of Motion to Stay Preliminary Injunction Pending Appeal                   U.S. DEPARTMENT OF JUSTICE
                                                                                        CIVIL DIVISION, FEDERAL PROGRAMS BRANCH
      C25-0127-JCC-2
                                                                                                      1100 L STREET, NW
22                                                                                                  WASHINGTON, DC 20005
                                                                                                         202-616-8098
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 1 has authorized Defendants to seek a stay of that injunction as to its overbroad applications,

 2 which Defendants intend to do within the next 24 hours.

 3          DATED this 11th day of February, 2025.

 4                                                     Respectfully submitted,

 5                                                     BRETT A. SHUMATE
                                                       Acting Assistant Attorney General
 6                                                     Civil Division

 7                                                     ALEXANDER K. HAAS
                                                       Branch Director
 8
                                                       BRAD P. ROSENBERG
 9                                                     Special Counsel

10                                                     /s/ R. Charlie Merritt
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15
                                                       Attorneys for Defendants
16
                                                       I certify that this memorandum contains 410 words,
17                                                     in compliance with the Local Civil Rules.

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19

20

21   Reply in Support of Motion to Stay Preliminary Injunction Pending Appeal                   U.S. DEPARTMENT OF JUSTICE
                                                                                       CIVIL DIVISION, FEDERAL PROGRAMS BRANCH
     C25-0127-JCC-3
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